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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                      )
                                              )
                Plaintiff,                    )
                                              )
                v.                            )      Criminal No. 1:15-10271-WGY
                                              )
ALEX LEVIN,                                   )
                                              )
                Defendant.                    )


                                 NOTICE OF APPEARANCE

To the Clerk:

       Please enter my appearance in the above-captioned case as additional counsel for the

United States of America.

                                                     Respectfully submitted,

                                                     CARMEN M. ORTIZ
                                                     United States Attorney


Date: March 6, 2016                           By:    /s/ Jordi de Llano
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                                CERTIFICATE OF SERVICE

        I, Jordi de Llano, hereby certify that the foregoing was filed through the Electronic Court
Filing system and will be sent electronically to the registered participants as identified on the
Notice of Electronic Filing.

Date: March 6, 2016                                  /s/ Jordi de Llano
                                                     Assistant United States Attorney
